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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA
____________________________________
                                            )
Keren Kayemeth LeIsrael-                    )
Jewish National Fund, et al.                )
                                            )
                   Plaintiffs,              )
                                            )
      v.                                    )  Civil Action No. 1:19-cv-03425
                                            )
Education for a Just Peace in the Middle East)
d/b/a US Campaign for Palestinian Rights )
                                            )
                   Defendant.               )
____________________________________)


      PLAINTIFFS’ MEMORANDUM OF LAW WITH POINTS AND
      AUTHORITIES IN SUPPORT OF PLAINTIFFS’ MOTION FOR
          RECONSIDERATION PURSUANT TO F.R.C.P. 59(e)


      Plaintiffs respectfully request that this Court reconsider its decision of

March 29, 2021 [D.E. 26] (“Memorandum Opinion”) dismissing Plaintiffs’

Complaint pursuant to Fed. Rule of Civ. Proc. 12(b)(6). The Court erred in ruling:

      (1) that there could be no “Direct Liability” because Plaintiffs’ Complaint

did not show proximate cause, did not allege a “direct relation” between the

Plaintiffs’ injury and Defendant’s injurious conduct, and did not allege facts to

support Plaintiffs’ contention that the Defendant “provided direct support” to

HAMAS; and


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       (2) that there could be no “Aiding-and-Abetting Liability” under JASTA

because the Welch v. Halberstam factors could not be met by Plaintiffs’ allegations

that the Defendant had knowingly provided substantial assistance to HAMAS.

                                                 I.

          UNLIKE DEFENDANTS IN RECENT CASES CITED BY THE
        COURT SEEKING DAMAGES FOR INJURIES CAUSED BY
         FOREIGN TERRORIST ACTS, USCPR IS A SINGLE-PURPOSE
                  ENTITY PROMOTING PALESTINIAN
                       OPPOSITION TO ISRAEL
       The Court’s Memorandum Opinion cited and relied on four reported

decisions in ruling that the Plaintiffs’ Complaint is insufficient to allege that

Defendant USCPR is directly liable under pre-2016 anti-terrorism legislation for

injuries to American nationals. Owens v. BNP Paribas, S.A., 897 F.3d 266 (D.C.

Cir. 2018); Crosby v. Twitter, Inc., 921 F.3d 617 (6th Cir. 2019); Owens v. Republic

of Sudan, 864 F.3d 751 (D.C. Cir. 2017); Rothstein v. UBS AG, 708 F.3d 82 (2d

Cir. 2013). The defendants in all four cited cases were entities that have

multifarious functions, missions, and objectives. The plaintiffs in each of the cited

cases claimed that one of these many activities performed by the multi-purpose

entities contributed to terrorist acts that injured the plaintiffs.

       (1) BNP Paribas S.A. is the world’s 8th largest bank by total assets and

          currently operates with a presence in 72 countries. Wikipedia.




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      (2) Twitter, Inc. has more than 25 offices around the world and had more

          than 330 million monthly active users around the world in 2019.

          Wikipedia.

      (3) Republic of Sudan is Africa’s third largest country by area and has a

          population of 44.91 million people as of 2021. Wikipedia.

      (4) UBS AG is a Swiss multinational investment bank and financial services

          company that maintains a presence in all major financial centers as the

          largest Swiss banking institution in the world. Wikipedia.

      By contrast, the Complaint alleges – and we do not think that the Defendant

contests – that USCPR is not an international multi-purpose behemoth but is an

ordinary American non-profit corporation that has a single purpose – to promote

“Palestinian Rights.” There is obviously an enormous difference between (a)

claiming that a huge international bank or an international social-media platform or

a foreign country (even one that, by reason of some of its activities, has been

designated a “state sponsor of terrorism”) should be held legally liable to pay for

all terrorist acts that it may have incidentally facilitated and (b) holding an

American entity that endorses the goals of foreign terrorists and has materially

assisted the terrorists responsible for injury abroad to American nationals.

      The Court of Appeals for the Second Circuit noted this difference in Linde v.

Arab Bank, PLC, 882 F.3d 314, 327 (2d Cir. 2018), when it said: “We conclude


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only that providing routine financial services to members and associates of terrorist

organizations is not so akin to providing a loaded gun to a child . . . .”

      The assistance USCPR provided to HAMAS’ dispatch of terror balloons and

kites that injured US citizens is like providing a loaded gun to a child. The

precedent that most closely parallels the facts alleged in Plaintiffs’ Complaint and

should control the Court’s decision on a Rule 12(b)(6) motion was cited and

discussed at pages 10-11, 15-16, and 20 of the Plaintiffs’ Memorandum of Law.

Boim v. Holy Land Foundation for Relief & Development, 549 F.3d 685 (7th Cir.

2008) (en banc). The Boim case concerned the liability of American domestic

entities for terrorist acts committed by foreign affiliates that the American entities

supported financially. The Seventh Circuit’s en banc Boim decision, authored by

Chief Judge Richard Posner, was totally ignored in USCPR’s initial Memorandum

in Support of its Motion to Dismiss and was inaccurately belittled at page 9 of

USCPR’s Reply Brief.

                                           II.

       THE COMPLAINT MORE THAN ADEQUATELY ALLEGED
            USCPR’S SUPPORT OF HAMAS’ TERRORISM
             RESULTING IN DIRECT LIABILITY UNDER
                    SECTIONS 2339A AND 2332
      A. The Legal Theory Presented in Paragraphs 24 and 25

      Paragraph 24 of the Complaint alleges sufficient plausible facts to meet the

“chain of incorporations” that Judge Posner invoked in affirming the Boim

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judgment. USCPR collects funds in the United States that are treated as charitable

contributions to support a committee that includes five terror organizations

including HAMAS. Since Section 2332(c) criminalizes “physical violence” that

causes “serious bodily injury,” and Section 2339A(a) also criminalizes those who,

with guilty knowledge, provide “material support or resources” for such a

violation, the complaint’s allegations suffice to pass the Rule 12(b)(6) standard for

direct liability under Boim. Paragraph 25 buttresses the more general allegations of

the preceding paragraph by specifying USCPR’s active promotion and sponsorship

of the “Great Return March” which, according to the plausible allegations of the

complaint, generate the “launchings of incendiary terror balloons, kites and other

terror devices” that have injured the American citizen plaintiffs. On these

allegations, the Defendant has potential liability under the federal anti-terrorism

provisions even before the enactment of the Justice Against Sponsors of Terrorism

Act (“JASTA”) in 2016.

      B. The Factual Support in Paragraphs 30-58 and 86-111

      In 2007 HAMAS carried out a violent military coup and took over Gaza.

The violent takeover gave HAMAS complete control over the Gaza territory and

over every aspect of life in Gaza. The Complaint plausibly alleges in Paragraph 48

(and the Plaintiffs will prove) that “[t]here is little to nothing that happens in Gaza

that HAMAS does not know about, approve and support.” This includes


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directing, supporting, and acting in concert with other Foreign Terrorist

Organizations that comprise the Boycott National Committee (“BNC”) and the

Palestinian National and Islamic Forces (“PNIF”), and which operate in Gaza with

the approval of HAMAS which has full control of all governance and operational

issues in Gaza.

      The Complaint further alleges that HAMAS plans and authorizes terror

attacks as the terms “plan” and “authorize” are defined in this Court’s opinion in

Atchley v. AstraZeneca UK Ltd., 474 F. Supp. 3d 194, 211 (D.D.C. 2020).

Paragraph 87 alleges plausibly that Great Return Marches are “sponsored and

supported by HAMAS and include organized efforts to terrorize Israel and those

that reside in Israel.” Paragraph 107 alleges that incendiary terror balloons and

kites during the Great Return Marches cannot be launched without the “express

support, permission, consent and control of HAMAS.”

      Paragraphs 100-104 detail activities of the “Sons of al-Zawari,” a HAMAS-

inspired group that takes credit “for launching incendiary terror balloons . . . and

declaring their intention to burn Israeli land.” Social media postings show

members of the “Sons of al-Zawari” wearing HAMAS regalia and report that the

Al-Qassam Brigades (the military wing of HAMAS) held a memorial service for

“Sons of al-Zawari” members at which “Sons of al-Zawari” members held terror

balloons and kites.


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      Such evidence is used by terrorism experts to establish the source of terror

attacks. See, e.g., Lelchook v. Syrian Arab Republic, 2019 WL 2191323, at *4

(D.D.C. Jan. 31, 2019), report and recommendation adopted, 2019 WL 2191177

(D.D.C. Mar. 25, 2019). In terrorism cases in particular, expert testimony may be

relied on to establish liability or the factual basis of plaintiff’s claims. Given the

“dearth of firsthand evidence, reliance upon secondary materials and the opinions

of experts is often critical in order to establish the factual basis of a claim under the

FSIA terrorism exception.” Owens v. Republic of Sudan, 864 F.3d 751, 787 (D.C.

Cir. 2017), certified question answered, 194 A.3d 38 (D.C. 2018), and vacated and

remanded sub nom. Opati v. Republic of Sudan, 140 S. Ct. 1601 (2020). Indeed,

“cases in this Circuit and in others have repeatedly sustained jurisdiction or

liability or both under the terrorism exception to the FSIA and in

other terrorism cases based solely upon expert testimony.” 864 F.3d at 788.

      C. Proximate Cause

      Paragraph 123 of the Complaint plausibly alleges that the Defendant is “the

US-based fiscal sponsor” for a foreign entity (“BNC”) that consists of “US

designated Foreign Terrorist Organizations, each of whom are barred from

receiving funds in or from the United States.” Contributions to this network of

terrorist groups – which the Court at page 6 of its Memorandum Opinion

mistakenly calls “a broad coalition leading a global movement for Palestinian


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rights” – are encouraged as tax-deductible because the Defendant cloaks them with

its Section 501(c)(3) status. The terrorist acts committed by HAMAS from Gaza

are effectively subsidized by tax-deductible contributions made to USCPR. Could

there be a more “substantial connection” between the Defendant and HAMAS’

terrorist acts that injure American citizens than the cover given to the financing of

HAMAS by the exploitation of USCPR’s tax-exempt status?

      In deciding whether to dismiss a complaint under Rule 12(b)(6), the Court

may not consider the ultimate likelihood of success on the merits, but only whether

the plaintiff has a properly stated claim. Greggs v. Autism Speaks, Inc., 987 F.

Supp.2d 51, 55 (D.D.C. 2014). The Court erred when it found that the Plaintiffs

had not presented facts establishing HAMAS’ culpability for the rocket and

incendiary balloon and kite attacks. (Mem. Op. 7).

      The allegations in Plaintiffs’ Complaint plausibly charge HAMAS with

being the Foreign Terrorist Organization responsible for launchings from Gaza of

rockets, and incendiary balloon and kite attacks. These allegations must be

construed liberally in the Plaintiffs’ favor. Campbell v. District of Columbia, 972

F. Supp. 2d 38, 44 (D.D.C. 2013). It is well-established that a plaintiff need not

plead “all elements of his prima facie case in the complaint.” Briscoe v. Costco

Wholesale Corp., 61 F. Supp. 3d 78, 84 (D.D.C. 2014). See Swierkiewicz v.

Sorema N. A., 534 U.S. 506, 511-14, 122 S. Ct. 992, 152 L. Ed. 2d 1 (2002).


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      By dismissing the case at this early juncture, the Court denies the Plaintiffs

any avenue to discover additional facts supporting the Complaint’s plausible

allegation that HAMAS, exploiting the financial and other support provided by the

Defendant, committed, planned, and authorized the attacks which caused the

Plaintiffs’ injuries. The Court’s finding that USPCR is not directly liable under the

legal standard of the Boim case was clearly erroneous and should be reconsidered.

                                              III.

                THE COMPLAINT’S PLAUSIBLE ALLEGATIONS
                    OF AIDING AND ABETTING EXCEED
                   THE PROOF OF AIDING AND ABETTING
                        IN HALBERSTAM v. WELCH
      A. Compare the Complaint’s Allegations with the Halberstam Facts

      Pub. L. 114-222, enacted in 2016 (“JASTA”), specified as a “Finding” in

Section 2(a)(5) that “[t]he decision of the United States Court of Appeals for the

District of Columbia in Halberstam v. Welch, 705 F.2d 472 (D.C. Cir. 1983) . . .

provides the proper legal framework for how such liability should function in the

context of” Section 2333(d)(2). On page 9 of its Memorandum Opinion this Court

identified six “factors” that are commonly utilized in evaluating a claim that a

secondary party aided and abetted a criminal offense. Before turning to those

“factors,” we compare the facts that sufficed to establish that Linda Hamilton aided

and abetted Bernard C. Welch, the murderer of Michael Halberstam, with the

plausible allegations of Plaintiffs’ Complaint.

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      Ms. Hamilton was held to be “a willing partner in [Welch’s]

criminal activities” despite her sworn testimony that she knew “nothing” of his

unlawful conduct and no proof that she ever encouraged or participated in any

burglary or murder. She was held civilly liable for aiding and abetting murder

because she must have known that “something illegal was afoot” and because she

lived with Welch, benefited from ill-gotten riches, and acted as “secretary and

recordkeeper” of transactions in which purloined goods were sold.

      Comparing the Defendant’s role in the launching of rockets, incendiary

balloon and kite attacks from Gaza to Israel with Linda Hamilton’s role in the

murder of Michael Halberstam is like comparing Goliath with Tom Thumb. The

Complaint plausibly alleges that USCPR not only knew of the terrorist attacks that

injured American plaintiffs, but that it facilitated them in advance by providing,

through an intermediary, funds to HAMAS that the Defendant collected as

purported tax-advantageous charitable contributions. This is much more knowing

and deliberate participation in a criminal deed than the evidence that tied Ms.

Hamilton to the murder of Michael Halberstam.

      B. The Six Halberstam “Factors”

      The Halberstam court set forth six “factors” for determining aiding-and-

abetting liability. 705 F.2d. at 483-484. This Court listed the six “factors” at page

9 of its Memorandum Opinion.


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        On the first and second factors, the Court erroneously held, at this initial

stage of the lawsuit, that the Defendant’s assistance was not “indisputably

important” or an “essential part” of HAMAS’ terrorist acts and that HAMAS was

not “heavily dependent” on USCPR’s support. Paragraphs 202-210 and paragraphs

214-222 of the Complaint were plausible allegations to the contrary that the Court

may not ignore.

        Financing like that provided by the Defendant matters greatly to terrorists.

See, e.g., Boim, 549 F.3d at 690-691 (explaining the importance of “financial

angels” to terrorist operations). Courts have held that providing funds to a

terrorist group aids and abets that group’s criminal activity. See, e.g., Bartlett v.

Societe Generale de Banque un Liban SAL, 2020 WL 7089448, at *12-16 (E.D.

N.Y. Nov 25, 2020); Miller v. Arab Bank, PLC, 372 F.Supp.3d 33, 47-48

(E.D.N.Y. 2019).

        Paragraphs 123-125 of the Complaint plausibly alleged that USCPR served

as the American-based fiscal sponsor for BNC. USCPR raised money through its

public website “donate” page and provided receipts for tax purposes that confirmed

that USCPR was BNC’s fiscal sponsor. These funds materially supported BNC

and, through BNC, enabled HAMAS to organize terrorist attacks launched from

Gaza.




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      The Court erroneously believed it important that there was no direct link

between the assistance the Defendant’s provided and HAMAS. (Mem. Op. 9)

(“They do not allege that defendants directly assisted Hamas itself . . . .”). But the

word “direct” does not appear in Section 2333(d)(2). See Siegel v. HCBC N. Am.

Holdings, Inc., 933 F.3d 217, 233 n.5 (2d Cir. 2019) (JASTA “does not, by its

terms, limit aiding-and-abetting liability to those who provide direct support to

terrorist organizations.”)

      The third factor – presence when the tort is committed -- is irrelevant in

“material aid” cases such as this. See Bartlett, 2020 WL 7089448 at *13 (presence

irrelevant to “funding activities”). The fourth factor -- “relation to the tortious

actor” – was plausibly alleged. USCPR was BNC’s fiscal sponsor and confirmed

with receipts that donations were for BNC. Paragraphs 76 and 99-103 alleged that

BNC was supporting HAMAS’ incendiary terror attacks. HAMAS needed funding

from BNC, and USCPR’s fundraising established the substantiality of USCPR’s

relation to HAMAS and its operations in Gaza.

      The fifth factor appraises the Defendant’s state of mind. USCPR was ‘one

in spirit’ with HAMAS and the Complaint plausibly alleged that it desired to make

the venture succeed. Paragraphs 132-137 of the Complaint allege that USCPR was

actively promoting and sponsoring the Great Return March on its Facebook,




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Twitter and emails. Active promotion of the Great Return March presumptively

endorsed the incendiary attacks that the March launched.

      The sixth factor – duration – cannot be minimized as the Court apparently

does. (Mem. Op. 11). Paragraphs 86, 106, and 132 of the Complaint allege that

USCPR has been actively promoting and sponsoring the Great Return March since

March 2018. Paragraphs 122 and 123 allege that as early as 2008, USCPR began to

partner and serve in the United States as the fiscal sponsor of BNC. In Halberstam

the Court of Appeals, per Circuit Judge Wald, held that the multiyear duration of

the relationship between Linda Hamilton and Bernard Welch “strongly influenced

[the Court’s] weighing of Hamilton’s assistance.” 705 F.2d at 488 (emphasis

added). In this case, the duration of the relationship between the Defendant and the

terrorist entities responsible for injuries to American citizens is significant.

                                                IV.

                   COURTS IN ANOTHER FEDERAL DISTRICT
                  DISAGREE WITH THIS COURT’S RATIONALE
      Recent rulings of three District Judges in the United States District Court for

the Eastern District of New York conflict in principle with the ruling that was

issued by this Court in this case. In Bartlett v. Societe Generale de Banque Au

Liban Sal, 2020 WL 7089448 (E.D. N.Y. Nov. 25, 2020), District Judge Amon

permitted the plaintiffs to pursue a claim under Section 2333(d) based on attacks

perpetrated by Hezbollah in Lebanon. In Estate of Henkin v. Kuveyt Turk Katilim

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Bankasi, A.S., 2020 WL 6143654 (E.D.N.Y. Oct. 20, 2020), District Judge Cogan

denied defendant’s motion to dismiss a claim under Section 2333(d) generated by

HAMAS’ murder in the West Bank of an American citizen couple. In Freeman v.

HSBC Holdings PLC, 2021 WL 76925 (E.D.N.Y. Jan. 7, 2021), District Judge

Pamela K. Chen denied a motion to dismiss amended complaints under Section

2333(d) alleging that Bank Saderat aided and abetted terrorist attacks in Iraq. We

respectfully ask this Court to reconsider its decision in this case in light of the

rulings in comparable lawsuits brought under Section 2333(d) against other

perpetrators of terrorism that injures American citizens.

                                                V.

                  A DISTRICT COURT ABUSES ITS DISCRETION
                      IF IT FAILS TO VACATE A DISMISSAL
                     TO CORRECT A CLEAR ERROR OF LAW
      Reconsideration under Rule 59(e) is prescribed if a party demonstrates that

an initial decision rests on a clear error of law. Failure to do so is an abuse of

discretion. Firestone v. Firestone, 76 F.3d 1205, 1208 (D.C. Cir. 1996); EEOC v.

Lockheed Martin Corp., 116 F.3d 110, 112 (4th Cir. 1997). See Norman v.

Arkansas, 79 F.3d 748, 750 (8th Cir. 1996); Anyanwutaku v. Moore, 151 F.3d

1053, 1058-59 (D.C. Cir. 1998).




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                                    CONCLUSION

     For the reasons stated above, Plaintiffs respectfully request that this Court

reconsider its Memorandum Opinion of March 29, 2021.




Dated: April 26, 2021          Respectfully Submitted,

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